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 8                            UNITED STATES DISTRICT COURT

 9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                        8:25-cr-00026-FWS
                                            Case No. ______________

12                   Plaintiff,             I N F O R M A T I O N

13             v.                           [26 U.S.C. § 7203: Willful Failure
                                            to Pay Tax]
14   MANUCHEHR KHOSHBIN,

15                   Defendant.

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18        The Acting United States Attorney charges:
19                                 [26 U.S.C. § 7203]
20        During the calendar year 2017, defendant MANUCHEHR KHOSHBIN had
21   and received taxable income of $7,163,049, on which taxable income
22   there was owing to the United States of America an income tax of
23   $1,380,932.    Defendant KHOSHBIN was required by law to pay such tax
24   on or before October 15, 2018, to any person assigned the
25   responsibility to receive payments at the IRS Service Center in
26   Fresno, California, or to any other proper officer of the United
27   States.   Well knowing all of the foregoing, on October 14, 2018, in
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     Case 8:25-cr-00026-FWS   Document 1   Filed 03/03/25   Page 2 of 2 Page ID #:2



 1   the Central District of California and elsewhere, defendant KHOSHBIN

 2   willfully failed to pay the income tax due for calendar year 2017.

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 4                                           JOSEPH T. MCNALLY
                                             Acting United States Attorney
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 6

 7                                           LINDSEY GREER DOTSON
                                             Assistant United States Attorney
 8                                           Chief, Criminal Division
 9                                           ANNE C. GANNON
                                             Assistant United States Attorney
10                                           Chief, Orange County Office
11                                           JENNIFER L. WAIER
                                             Assistant United States Attorney
12                                           Deputy Chief, Orange County
                                             Office
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